       Case 2:08-cv-01369-LMA-KWR Document 26 Filed 12/10/08 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

JESSIE LEE                      §                    CIVIL ACTION NO. 2008-1369
                                §
VERSUS                          §
                                §                    SECTION I
LONG BEACH MORTGAGE COMPANY, §                       JUDGE LANCE M. AFRICK
DEUTSCHE BANK NATIONAL TRUST    §
COMPANY, AS TRUSTEE FOR LONG    §
BEACH MORTGAGE LOAN TRUST 2005- §                    DIVISION 4
WL1, and ABC INSURANCE COMPANY §                     MAG. KAREN WELLS ROBY


                                              ORDER

           Considering the foregoing Motion to Substitute filed by Washington Mutual Bank,

           IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Motion to

Substitute be and is hereby GRANTED.

           IT IS HEREBY FURTHER ORDERED, ADJUDGED AND DECREED that the

Federal Deposit Insurance Corporation, as Receiver of Washington Mutual Bank, is hereby

substituted in place and stead of Washington Mutual Bank in the litigation.

           New Orleans, Louisiana, this10th
                                       ___ day of December, 2008.




                                              JUDGE
                                              UNITED STATES DISTRICT COURT




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